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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

JACK D. DENTON,

              Plaintiff,
                                         Civil Case No. 4:20-cv-00425-
v.
                                                   AW-MAF
JOHN E. THRASHER, et al.,

            Defendants.



      PLAINTIFF’S MOTION TO AMEND THE COMPLAINT

     Plaintiff Jack D. Denton, pursuant to Fed. R. Civ. P. 15(a)(2) and

N.D. Fla. Loc. R. 7.1 and 15.1, respectfully moves the Court for an Order

granting leave to file a First Amended Complaint and states as follows:
     1.    On October 26, 2020, the Student Supreme Court of Florida

State University ordered Mr. Denton’s reinstatement as president of the

Student Senate.

     2.    On October 27, 2020, Plaintiff filed a Notice apprising the

Court of the Student Supreme Court’s ruling. See Doc. 59.

     3.    Since the filing of the Complaint, Defendants have engaged in
additional acts depriving Plaintiff of his constitutional rights, including

attempts to influence the Student Supreme Court’s consideration of

Plaintiff’s complaint, defying the Student Supreme Court’s order
reinstating Mr. Denton, enforcing the Student Senate’s unconstitutional
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removal of Mr. Denton, and declaring that Defendant Daraldik was still

the Student Senate President even after the Student Supreme Court

ordered Mr. Denton’s reinstatement.

     4.    “[D]istrict courts should liberally grant leave to amend when

‘the underlying facts or circumstances relied upon by a plaintiff may be a

proper subject of relief.’” In re Engle Cases, 767 F.3d 1082, 1108–09 (11th

Cir. 2014) (quoting Foman v. Davis, 371 U.S. 178, 182 (1962)).

     5.    The acts by Defendants since Plaintiff’s original complaint are

new violations of Plaintiff’s rights under the principles of law this Court

set forth in its Order Granting in Part Plaintiff’s Motion for Preliminary
Injunction, and are therefore a proper subject of relief. See Doc. 55.

     6.    Plaintiff therefore requests an Order granting leave to file an

Amended Complaint.



     CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

     Pursuant to N.D. Fla. Loc. R. 7.1(B), Plaintiff’s counsel conferred
with counsel for all Defendants regarding the relief requested herein and

was unable to secure Defendants’ acquiescence in the relief requested

herein.

     Respectfully submitted on the 18th day of November, 2020.

                                         s/ Tyson Langhofer
                                         Tyson Langhofer*
                                         ALLIANCE DEFENDING FREEDOM
                                         20116 Ashbrook Place, Suite 250

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                                   Ashburn, VA 20147
                                   Telephone: (571) 707-4655
                                   Facsimile: (571) 707-4656
                                   tlanghofer@ADFlegal.org

                                   David A. Cortman
                                   FLORIDA BAR NO. 18433
                                   Travis C. Barham*
                                   ALLIANCE DEFENDING FREEDOM
                                   1000 Hurricane Shoals Road NE,
                                   Ste. D-1100
                                   Lawrenceville, GA 30043
                                   Telephone: (770) 339-0774
                                   Facsimile: (770) 339-6744
                                   dcortman@ADFlegal.org
                                   tbarham@ADFlegal.org

                                   Mark Welton
                                   Florida Bar No. 999202
                                   WELTON LAW FIRM, LLC
                                   1020 S. Ferdon Blvd.
                                   Crestview, FL 32536
                                   Telephone: (850) 682-2120
                                   Facsimile: (850) 689-0706
                                   mark@weltonlawfirm.com



                                   * Admitted Pro Hac Vice

                                   Attorneys for Plaintiff




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